Case 3:22-cr-00037-KC Document 25 Filed 02/08/22 Page 1of3

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

EL PASO DIVISION
UNITED STATES OF AMERICA §
VS. ; CAUSE NO. 22-CR-00037-KC
APRIL CADENA :

DEFENDANT’S MOTION TO SEEK AUTHORIZATION FOR THE USE OF
ELECTRONIC DEVICES AT THE WEST TEXAS DETENTION FACILITY

Comes now Defendant, APRIL CADENA, by and through her attorney of record, Francisco
F. Macias, and files this his Motion to Seek Authorization for the use of Electronic Devices at the
West Texas Detention Facility in 401 South Vaquero Avenue, Sierra Blanca, Tx 79851 for the
purpose of having a contact visit with Defendant April Cadena - Marshall # 83716380. As grounds
the Defendant would show the following:

I.

Defendant is currently being detained at the West Texas Detention Facility in 401 Soutt
Vaquero Avenue, Sierra Blanca, Tx 79851. Defense counsel has obtained discovery in reference
to the above mentioned case. Part of the evidence that has been provided to Defense Counsel is or.
the format of compact disc. The compact disc contains discovery and audio recordings that car:
only be reviewed and analyzed with a computer.

II.

Defense Counsel, Francisco F. Macias, has the ability to produce a Laptop computer with
the required capabilities to review and analyze the evidence in this case. Such computer is of a
discreet size and can be submitted to any required inspection as ordered by this Honorable Court,
or as needed by the West Texas Detention Facility.

Defendant, April Cadena, would respectfully request, through her Attorney of record.
Case 3:22-cr-00037-KC Document 25 Filed 02/08/22 Page 2 of 3

Francisco F. Macias, that this Honorable Court authorize in writing the use of a Laptop computer
inside the West Texas Detention Facility for the purpose of reviewing the evidence in this case
The Defendant would further request that the court order a contact visit authorized with Apri
Cadena - Marshall # 83716380.

The jail will not allow Attorney to enter with electronic equipment unless he presents <
written order.

PRAYER

Wherefore premises considered, the Defendant prays this Honorable Court will grant her
Motion and that he will be provided with the right to view and analyze the evidence with her
Attorney Francisco F. Macias. Denial of such Motion will interfere with the Effective Assistance
of Counsel as stipulated in the 6” Amendment of the United States Constitution

Respectfully Submitted,

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‘FRANCISCO F. MACIAS
Attorney for Defendant
Texas Bar No.12774450
1001 North Campbell
El Paso, Texas 79902
Telephone No. (915) 544-9047
Fax No. (915) 544-5345

CERTIFICATE OF SERVICE
I certify that on this / th day of February, 2022 a copy of the Motion to Seek
Authorization to Use Electronic Device in West Texas Detention Facility in the above-styled anc
numbered case was delivered to all interest parties via electronic filing system.
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FRANCISCO F. MACIAS

Case 3:22-cr-00037-KC Document 25 Filed 02/08/22 Page 3 of 3

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

EL PASO DIVISION
UNITED STATES OF AMERICA §
VS. : CAUSE NO. 22-CR-00037-KC
APRIL CADENA :
ORDER
On this the day of , 2022, came on to be

considered the Defendant’s Motion to Seek Authorization for the use of Electronic Devices at the
West Texas Detention Facility. That Attorney, Francisco F. Macias & his investigator Guillerme
Ramos, Albrook Investigation Claim Services Inc, and/or Associates, License Number A18751.
be allowed a contact visit with April Cadena - Marshall # 83716380, and that he be allowed to take
into the facility a computer and evidence provided by the United States Attorney’s office anc
analyze the evidence with client April Cadena during the pendency of this case as necessary, anc
the Court, having considered the same, finds that the same is in order and should be:

( ) GRANTED;

( ) DENIED;

( ) SET FOR A HEARING on day of , 2022.

IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that the Motion be sez

for a hearing on the day of , 2022 ai
o’clock.
SIGNED AND ENTERED this day of , 2022.

HONORABLE, KATHLEEN CARDONE
UNITED STATES DISTRICT JUDGE
